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  VIRGINIA:

                     IN THE CIRCUIT COURT FOR THE COUNTY OF ALBEMARLE

  SANDRA G. LEWIS AND WESLEY S.
  LEWIS,

       Plaintiffs,

  v.                                                   Case No. CL18001369-00

  JAYCO, INC., JAYCO-VA, LLC, CAMPING
  WORLD RV SALES, LLC, AND CAMPING
  WORLD INC.,

       Defendants.

                                                 ANSWER

           Defendants Camping World RV Sales, LLC and Camping World, Inc. (collectively,

  “Defendants”), by counsel, state as follows for their Answer to Plaintiffs’ Complaint:

           1.        Upon information and belief, Defendants admit the allegations in paragraph 1 of

  the Complaint.

           2.        In response to paragraph 2 of the Complaint, Defendants admit that Jayco is a for-

  profit corporation incorporated and headquartered in Indiana. Defendants admit that Jayco a final

  stage manufacturer and seller of motorhomes.

           3.        Defendants are without sufficient information or knowledge to admit or deny the

  allegations in paragraph 3 of the Complaint. Defendants aver that Jayco-VA, LLC has no

  connections to Jayco, Inc.

           4.        Defendants admit the allegations in paragraph 4 of the Complaint.

           5.        Defendants admit the allegations in paragraph 5 of the Complaint.
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                                     BACKGROUND FACTS

            6.    Defendants are without sufficient information or knowledge to admit or deny the

  allegations in paragraph 6 of the Complaint.

            7.    In response to paragraph 7 of the Complaint, Defendants admit that on March 17,

  2018 Plaintiffs purchased a new 2018 Alante, Class-A Motorhome (“motorhome”) from

  Camping World RV Sales in Ashland, Virginia. The remaining allegations in paragraph 7 are

  denied.

            8.    In response to paragraph 8 of the Complaint, Defendants aver that Jayco provided

  a Limited Warranty. Defendants deny any allegations in paragraph 8 that are inconsistent with

  the terms of that Limited Warranty.

            9.    In response to paragraph 9 of the Complaint, Defendants admit that the

  motorhome came with a Virginia State Inspection Certification. Defendants deny that Camping

  World RV Sales was acting as an agent for Jayco and Camping World, Inc. The remaining

  allegations in paragraph 9 are denied.

            10.   In response to paragraph 10 of the Complaint, the Virginia State Inspection

  Certification speaks for itself.   Paragraph 10 also contains a legal conclusion to which no

  response is required. Defendants deny the remaining allegations in paragraph 10.

            11.   In response to paragraph 11 of the Complaint, the Virginia State Inspection

  Certification speaks for itself.

            12.   In response to paragraph 12 of the Complaint, Defendants aver that Jayco

  provided a Limited Warranty.       Defendants deny any allegations in paragraph 12 that are

  inconsistent with the terms of that Limited Warranty. Defendants deny the remaining allegations

  in paragraph 12.




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          13.    Paragraph 13 of the Complaint states a legal conclusion to which no response is

  required. To the extent a response is required, any allegations in paragraph 13 are denied.

          14.    Paragraph 14 of the Complaint states a legal conclusion to which no response is

  required. To the extent a response is required, any allegations in paragraph 14 are denied.

          15.    Paragraph 15 of the Complaint states a legal conclusion to which no response is

  required. To the extent a response is required, any allegations in paragraph 15 are denied.

          16.    In response to paragraph 16 of the Complaint, Defendants admit that Plaintiffs

  purchased the motorhome on March 17, 2018 for $97,759.86. Defendants deny the remaining

  allegations in paragraph 16 of the Complaint.

          17.    Defendants admit the allegations in paragraph 17 of the Complaint.

          18.    In response to paragraph 18 of the Complaint, Defendants aver that Jayco

  provided a Limited Warranty. Upon information and belief, Ford Motor Company, the

  manufacturer of the chassis, also provided a warranty.          Defendants deny the remaining

  allegations in the Complaint.

          19.    Defendants are without sufficient information or knowledge to admit or deny the

  allegations in paragraph 19 of the Complaint, except they deny making any false statements to

  Plaintiffs.

          20.    Defendants deny the allegations in paragraph 20 of the Complaint.

          21.    In response to paragraph 21, Defendants aver that repairs were performed on the

  motorhome, which including addressing Plaintiffs’ complaint of a noise. Defendants are without

  sufficient information or knowledge to admit or deny the remaining allegations in paragraph 21

  of the Complaint.

          22.    Defendants deny the allegations in paragraph 22 of the Complaint.




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            23.   Defendants are without sufficient information or knowledge to admit or deny the

  allegations in paragraph 23 of the Complaint.

            24.   Defendants are without sufficient information or knowledge to admit or deny the

  allegations in paragraph 24 of the Complaint, and call for strict proof thereof. Defendants deny

  that there is a safety issue with the motorhome.

            25.   Defendants are without sufficient information or knowledge to admit or deny the

  allegations in paragraph 25 of the Complaint, and call for strict proof thereof. Defendants deny

  that the motorhome is unsafe to drive.

            26.   Defendants are without sufficient information or knowledge to admit or deny the

  allegations in paragraph 26 of the Complaint.

            27.   In response to paragraph 27 of the Complaint, Defendants state that Jayco offered

  to repair the motorhome, but Plaintiffs refused because they were concerned the repair would

  void the Ford Chassis Warranty. Ford’s Warranty speaks for itself. Defendants deny that the

  proposed repair would void the Ford Warranty.

            28.   In response to paragraph 28 of the Complaint, Defendants admit that Plaintiffs

  required a written description of the proposed repairs. The remaining allegations in paragraph

  denied.

            29.   Defendants deny the allegations in paragraph 29 of the Complaint.

                                      COUNT I – RESCISSION

            30.   Defendants incorporate their responses to paragraphs 1 through 29 of the

  Complaint as if set forth fully herein.

            31.   Defendants deny the allegations in paragraph 31 of the Complaint.

            32.   Defendants deny the allegations in paragraph 32 of the Complaint.




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         33.     Paragraph 33 of the Complaint states a legal conclusion to which no response is

  required. To the extent a response is required, any allegations in paragraph 33 are denied.

                         COUNT II – CONSUMER PROTECTION ACT

         34.     Defendants incorporate their responses to paragraphs 1 through 33 of the

  Complaint as if set forth fully herein.

         35.     Paragraph 35 of the Complaint states a legal conclusion to which no response is

  required. To the extent a response is required, any allegations in paragraph 35 are denied.

  Defendants deny that they hid or concealed the proposed repair.

         36.     Defendants deny the allegations in paragraph 36 of the Complaint.

         37.     In response to paragraph 37, Defendants deny that Plaintiffs are entitled to the

  relief requested.

         38.     Paragraph 38 of the Complaint states a legal conclusion to which no response is

  required. To the extent a response is required, any allegations in paragraph 38 are denied.

  Defendants deny that Plaintiffs are entitled to the relief requested.

                                  COUNT III – ACTUAL FRAUD

         39.     Defendants incorporate their responses to paragraphs 1 through 38 of the

  Complaint as if set forth fully herein.

         40.     Defendants deny the allegations in paragraph 40 of the Complaint.

                              COUNT IV – MAGNUSON-MOSS ACT

         41.     Defendants incorporate their responses to paragraphs 1 through 40 of the

  Complaint as if set forth fully herein.

         42.     Paragraph 42 of the Complaint states a legal conclusion to which no response is

  required. To the extent a response is required, any allegations in paragraph 42 are denied.




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         43.     Paragraph 43 of the Complaint states a legal conclusion to which no response is

  required. To the extent a response is required, any allegations in paragraph 43 are denied.

         44.     Defendants deny the allegations in paragraph 44 of the Complaint. Paragraph 44

  of the Complaint also states a legal conclusion, to which no response is required. To the extent a

  response is required, any allegations in paragraph 44 are denied.

         45.     Defendants deny the allegations in paragraph 45 of the Complaint. Paragraph 44

  of the Complaint also states a legal conclusion, to which no response is required. To the extent a

  response is required, any allegations in paragraph 45 are denied.

         46.     Defendants deny the allegations in paragraph 46 of the Complaint. Paragraph 46

  of the Complaint also states a legal conclusion, to which no response is required.

         47.     Defendants deny any allegations in the Complaint that have not been specifically

  admitted herein.

         48.     Defendants deny that Plaintiff has been damaged in the amount and to the extent

  alleged.

         49.     Defendants deny any allegations in the Complaint that have not specifically been

  admitted herein.

         50.     Plaintiffs’ claims are barred in whole or part by the terms of any applicable

  limited, express warranty.

         51.     Defendants aver that the alleged issue does not significantly impair the use,

  market value or safety of the vehicle.

         52.     Defendants reserve the right to rely upon all proper and provable defenses to this

  action which may be revealed through further investigation and discovery.




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         WHEREFORE, for the reasons set forth above, Defendants Camping World RV Sales,

  LLC and Camping World, Inc., by counsel, respectfully request that this action be dismissed and

  the Court award their costs and fees incurred herein, and order any other relief this Court deems

  proper and just.

         JURY TRIAL DEMANDED.


                                                       CAMPING WORLD RV SALES, LLC,
                                                       AND CAMPING WORLD INC.

                                                       By Counsel




  Danielle D. Giroux (VSB No. 45401)
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                                      CERTIFICATE

        I hereby certify that a true copy of the foregoing mailed this 12th day of October 2018:

                              James B. Feinman, Esq.
                              James B. Feinman & Associates
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                              Ray Byrd, Jr., Esq.
                              416 South College Avenue
                              Salem, Virginia 24153




                                              ________________________________
                                              Danielle D. Giroux




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  VIRGINIA:

                  IN THE CIRCUIT COURT FOR THE COUNTY OF ALBEMARLE

   SANDRA G. LEWIS AND WESLEY S.
   LEWIS,

        Plaintiffs,

   v.                                                   Case No. CL18001369-00

   JAYCO, INC., JAYCO-VA, LLC,
   CAMPING WORLD RV SALES, LLC, AND
   CAMPING WORLD INC.,

        Defendants.

                                          MOTION TO DISMISS

           Defendant Jayco, Inc., by counsel, moves to dismiss Plaintiffs’ Complaint on the grounds

  that the applicable Limited Warranty contains a mandatory forum selection clause providing that

  exclusive jurisdiction over this matter lies in Indiana. In support of this Motion, Jayco states as

  follows:

           1.         This action arises out of Plaintiffs’ purchase of a 2018 Alante, Class-A Motorhome

  (“motorhome”) on or about March 17, 2018. Plaintiff allege that after they took delivery, they

  discovered an issue with the tires that Defendants refused to repair. Plaintiffs filed a Complaint

  against Defendants alleging Rescission, Consumer Protection Act, Actual Fraud and Magnuson-

  Moss Warranty Act.

           2.         The Limited Warranty between Jayco and Plaintiffs confers exclusive jurisdiction

  over this matter in the Indiana courts, where the motorhome was manufactured. The Limited

  Warranty provides, in pertinent part:
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  Exhibit A.

         3.     A forum selection clause such as the one contained in the Limited Warranty is

  “prima facie valid and should be enforced unless enforcement is shown by the resisting party to

  be ‘unreasonable’ under the circumstances.” M/S Bremen v. Zapata Offshore Co., 407 U.S. 1, 10

  (1972); Gilman v. Wheat, First Securities, 345 Md. 361, 692 A.2d 454, 462 - 63 (1997). The party

  challenging the clause bears a “heavy burden of proof” and must “clearly show that enforcement

  would be unreasonable and unjust, or that the clause was invalid for such reasons as fraud or

  overreaching.” Id. at 15; see also Burger King Corp. v. Rudzewicz, 471 U.S. 462 (1985)

  (recognizing that enforcement of valid forum selection clause does not offend due process);

  Carnival Cruise Lines, Inc. v. Shute, 499 U.S. 585, 591 (1991) (forum selection clause in cruise

  ship ticket was valid and enforceable); Stockley v. Thomas, 89 Md. 663, 668-69, 43 A. 766, 768

  (1899) (concluding that, where plaintiffs “have voluntarily abandoned the [c]ourts of this State”

  through a contract, there is “no good reason” why their complaint should be adjudicated by a

  Maryland court). See also Koch v. America Online, Inc., 139 F.Supp.2d 690, 693 (D. Md.

  2000) (interpreting Gilman as wholly consistent with “the federal standard for evaluation

  of forum-selection clauses” adopted in The Bremen).



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         4.      The motorhome was manufactured in Indiana, Indiana law applies to this action,

  and the Indiana courts have exclusive jurisdiction over Plaintiffs’ claims against Jayco.

  Accordingly, this action against Jayco must be dismissed for lack of jurisdiction pursuant to the

  parties’ agreed-upon exclusive forum selection clause.

         WHEREFORE, Defendant Jayco, Inc., by counsel, respectfully requests that this Court

  enter an Order dismissing the Complaint against Jayco, Inc. for lack of jurisdiction.



                                                           JAYCO, INC.
                                                           By Counsel




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Case 3:18-cv-00100-GEC-JCH Document 1-1 Filed 10/17/18 Page 37 of 47 Pageid#: 41




                                      CERTIFICATE

        I hereby certify that a true copy of the foregoing mailed this 12th day of October 2018:

                              James B. Feinman, Esq.
                              James B. Feinman & Associates
                              P. O. Box 697
                              Lynchburg, VA 24505
                              jb@jfeinman.com

                              Ray Byrd, Jr., Esq.
                              416 South College Avenue
                              Salem, Virginia 24153




                                              ________________________________
                                              Danielle D. Giroux




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  VIRGINIA:

                  IN THE CIRCUIT COURT FOR THE COUNTY OF ALBEMARLE

   SANDRA G. LEWIS AND WESLEY S.
   LEWIS,

        Plaintiffs,

   v.                                                  Case No. CL18001369-00

   JAYCO, INC., JAYCO-VA, LLC,
   CAMPING WORLD RV SALES, LLC, AND
   CAMPING WORLD INC.,

        Defendants.

                 28 U.S.C. § 1446(d) NOTICE OF FILING NOTICE OF REMOVAL

           To:        Clerk, Circuit Court for Albemarle County

           PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1446(d), a Notice of Removal was

  filed on this date in the United States District Court for the Western District of Virginia,

  Charlottesville Division with respect to the above-captioned matter. A copy of the Notice of

  Removal is attached. This notice effectuates the removal of this action to the United States District

  Court and operates to stay all further proceedings in the Circuit Court.


                                                            JAYCO, INC., CAMPING WORLD
                                                            RV SALES, LLC, AND CAMPING
                                                            WORLD INC.
                                                            By Counsel



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Case 3:18-cv-00100-GEC-JCH Document 1-1 Filed 10/17/18 Page 47 of 47 Pageid#: 51




                                       CERTIFICATE

        I hereby certify that a true copy of the foregoing emailed and mailed this 17th day of
  October 2018:

                                James B. Feinman, Esq.
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                                               ________________________________
                                               Danielle D. Giroux
